    Case 2:24-cv-12962-GAD-EAS ECF No. 75-6, PageID.5400 Filed 02/21/25 Page 1 of 5

Re: Spring     Break and               laptop questions

 Mo        MATT OLIVER <mattmwo@hotmail.com>
           Sat, 16 Mar 2024 6:46:56 PM -0700 *
      To   "Shari Oliver" <jebezob@zoho.com>

If you would like to make alternate plans with the kids during spring break somewhere              in MI, I'm
ok with that.

I'm not trying to take parenting time away from you, but please understand my feelings on
crossing state lines with the kids.

I'm not looking for any tension between          us as parents.

You're still trying to sue me in Federal Court, yet I'm willing to let you       have unsupervised
parenting time with the kids.

If you spending     spring   break with the kids in MI isn't an option for you   please let me   know.

Thanks




From: Shari Oliver <jebezob@zoho.com>
Sent: Saturday, March 16, 2024 9:02 PM
To: MATT OLIVER <mattmwo@hotmail.com>
Subject: Re: Spring Break and         laptop questions


Ohio has been cancelled.




---- On Sat, 16 Mar 2024 16:07:48 -0700 MATT OLIVER
<mattmwo@hotmail.com> wrote ---

Like I said in the previous email, I'd like your spring             break trip with the kids to be in
Michigan.
Thank you for respecting my feelings on this topic.




From: Shari Oliver <jebezob@zoho.com>
Sent: Saturday, March    16, 2024 6:33 PM
   Case 2:24-cv-12962-GAD-EAS ECF No. 75-6, PageID.5401 Filed 02/21/25 Page 2 of 5
To: MATT OLIVER <mattmwo@hotmail.com>
Subject: Re: Spring Break and      laptop questions



Well, I don't understand your feelings. If you want me to cancel OH               reservations,   let
me know. If yes, I do not know with what or if I will replace them.




---- On Sat, 16 Mar 2024 06:59:32 -0700 MATT OLIVER
<mattmwo@hotmail.com> wrote ---


I don't want you to cancel your trip to MI, I want the kids to spend           time with you.

Just not sure why you can't find somewhere             to go within the state of MI.

See if you can find a place to stay in MI instead of the OH          dates.

Not looking for friction with you on this subject.         I've given you ample    parenting   time
when you're in MI and I've instilled trust in you when you've taken the kids on trips.

All I'm asking is some      understanding   from you     on how   I feel about the kids travelling
out of state.




From: Shari Oliver <jebezob@zoho.com>
Sent: Saturday, March 16, 2024 2:03 AM
To: MATT OLIVER <mattmwo@hotmail.com>
Subject: Re: Spring Break and      laptop questions



I asked            what she wanted to do for spring break, and she said Great Wolf Lodge
and a waterpark.           did not provide any input, but he recently asked about
bringing the MagiQuest wand so he seemed pretty excited about doing that. So, I
made plans based on what           and          wanted for spring break. I saw no
reason to drive as far as for winter break, and it should be more interesting to go to a
water park that we have never been to before. Plus, I am              guessing the different
Great Wolf Lodge location will be a little different too.

The court order also says zero overnights.            Should I have all my parenting time
supervised too?      Do you want me to cancel everything?

We aren't going to work on changing anything?
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---- On     Fri, 15 Mar 2024         16:58:52         -0700    MATT     OLIVER
<mattmwo@hotmail.com>                       wrote ---

I understand       the logistics of it, but why               do you   insist on taking the kids across the
state line? I'm just going by the Court Orders. Can't you cancel the OH stays and find
something in           and            home state of MI?


From: Shari Oliver <jebezob@zoho.com>
Sent: Friday, March 15, 2024 4:24 PM
To: mattmwo@hotmail.com <mattmwo@hotmail.com>
Subject: Re: Spring Break and               laptop questions



I already booked.          The    places I booked          are an hour closer than where        we were for
winter break.




*** Sent from my hard wired internet connection,    ***




---- On     Fri, 15 Mar 2024         11:58:24         -0700mattmwo@hotmail.com                wrote ----


Hi Shari.
I just remembered           per the Courts JOD            order that parenting time is to be exercised             in
MI.

The    kids going to OH          during spring        break is against Court Orders.

I would     like            and                    to stay within the state of MI on your spring           break
trip. Perhaps you can book something                      here in place of the OH dates.

Thanks


From: Shari Oliver <jebezob@zoho.com>
Sent: Saturday, March 9, 2024 6:11 PM
To: MATT OLIVER <mattmwo@hotmail.com>
Subject: Re: Spring Break and               laptop questions

I will be driving, and I last got an oil change                    on the day I picked   up          and
           to go to Traverse City area.
   Case 2:24-cv-12962-GAD-EAS ECF No. 75-6, PageID.5403 Filed 02/21/25 Page 4 of 5
OK, I will ask            some laptop questions.

Yes, let me     know   bday costs.




---- On Sat, 09 Mar 2024 13:05:33 -0700 MATT OLIVER
<mattmwo@hotmail.com> wrote ---


Sounds like you have a fun trip planned with the kids! Are you driving to MI again? If
so, it wouldn't be a bad idea to have your car's oil changed if it has more than 4000k
miles on it.

         definitely wants a laptop, so feel free to send any input on one.          @

Also in the process of making plans for a birthday party for                  We were going to
do Whirlyball but           isn't old enough to drive the bumper          cars there, so on to
plan B.
Would you be willing to divide Kissy Butt's birthday party costs with me?
Thanks     &

From: Shari Oliver <jebezob@zoho.com>
Sent: Saturday, March 9, 2024 2:05 PM
To: MATT OLIVER <mattmwo@hotmail.com>
Subject: Re: Spring Break and         laptop questions



If you want any input on a laptop let me know.



         told me    she would   like to do MagiQuest     (Great Wolf Lodge)     and a waterpark for
spring   break.

So, I got a couple places in Sandusky to go to: (1) the Great Wolf Lodge and (2)
indoor waterpark       at Kalahari,   ...come   back Easter Sunday   morning.


Stays:

(1) Great Wolf Lodge:

Check In
Tue, Mar 26, 2024
after 4:00 PM
     Case 2:24-cv-12962-GAD-EAS ECF No. 75-6, PageID.5404 Filed 02/21/25 Page 5 of 5

Nights
2


Check Out
Thu, Mar 28, 2024
before 11:00 AM



(2) Econo    Lodge Inn & Suites South:
            3309 Milan Rd, Sandusky, OH, 44870 United States of America

            Check-in                                                       Check-out

            Thu, Mar 28                                                   Sun, Mar 31
            Check-in time starts at 4:00 PM


---- On Thu, 07 Mar 2024 07:28:57 -0700 MATT OLIVER
<mattmwo@hotmail.com> wrote ---


Yes,             was a new computer for her birthday. We are in the process of picking one
out.

From: Shari Oliver <jebezob@zoho.com>
Sent: Tuesday, March 5, 2024 3:58 PM
To: mattmwo     <mattmwo@hotmail.com>
Subject: Spring Break and              laptop questions

Hi Matt,

Do             and           have any activities already planned             over Spring   Break   (a
           birthday party, Easter Sunday dinner, etc...)?

Is            getting a laptop for her birthday?          Is one picked out?

Shari


*** Sent from my hard wired internet connection,   ***
